Case 1:18-cv-05622-PKC Document6 Filed 06/28/18 Page 1of 10

AO 440 Rev. 06/12) Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
SOUTHERN DISTRICT OF NEW YORK

HUMANE CONSUMER LLC

Plaintiff(s)
Vv.

COB ECOMMERCE EMPIRE LLC d/b/a KEEVA
ORGANICS, CRAWFORD AND O'BRIEN LLC,
CHARLES CRAWFORD, MICHAEL O'BRIEN and
AMAZON.COM, LLC

Civil Action No, 1:18-cv-05622 (PKG)

Nee Ne Nae Nee Nee ee ee Nee ee eee eee”

Defendant(s)

SUMMONS IN A CIVIL ACTION

COB ECOMMERCE EMPIRE LLC
1303 W 10th Street
Tempe, AZ 85281

To: (Defendant’s name and address)

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are: .

Paul W. Siegert

307 Fifth Avenue, 4th Floor
New York, NY 10016

_ Ifyou fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk ar Deputy Clerk
Case 1:18-cv-05622-PKC Document6 Filed 06/28/18 Page 2 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:18-cv-05622 (PKC)

‘PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

CI I personally served the summons on the individual at (place) _

on (date) sor

1 1 left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,.

on. (date) . and mailed a copy to the individual’s last known address; or

C1 1 served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ; or
[1 I returned the summons unexecuted because Sor
[ Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case 1:18-cv-05622-PKC Document 6 “Filed 06/28/18 Page 3 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action

_ UNITED STATES DISTRICT COURT

for the
Southern District of New York

HUMAN CONSUMER LLC

Plaintiffts)
Vv.

COB ECOMMERCE EMPIRE LLC d/b/a KEEVA
ORGANICS, CRAWFORD AND O'BRIEN LLC,
CHARLES CRAWFORD, MICHAEL O'BRIEN and
AMAZON.COM, LLC

Civil Action No. 1:18-cv-05622 (PKC)

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) CRAWFORD AND O'BRIEN LLC
1303. W 10th Street
Tempe, AZ 85261

A lawsuit has been filed agamst you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Paul W. Siegert
307 Fifth Avenue, 4th Floor
New York, NY 10016

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You. also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
. Case 1:18-cv-05622-PKC Document6 Filed 06/28/18 Page 4 of 10

AO 440 (Rev. 06/12) Susamons in a Civil Action (Page 2)

Civil Action No. 1:18-cv-05622 (PKC)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

C I personally served the summons on the individual at (place)

on (date) 3; Or

OF I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

OI served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) > or
Cl T returned the summons unexecuted because . ; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of § 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, ete: .
Case 1:18-cv-05622-PKC Document 6 Filed 06/28/18 Page 5 of 10

AO.440 (Rev. 06/12). Summons in a Civil Action

UNITED STATES DISTRICT COURT

for the
Southern District of New York

HUMAN CONSUMER LLC

Plaintiff(s)
Vv.

COB. ECOMMERCE EMPIRE LLC d/b/a KEEVA
ORGANICS, CRAWFORD AND O'BRIEN LLC,
CHARLES CRAWFORD, MICHAEL O'BRIEN and

AMAZON.COM, LLC

Civil Action No. .1:18-cv-05622 (PKC)

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) CHARLES CRAWFORD
oO 6900 E Princess Drive, Unit 2195
. Phoenix, AZ 85054-4120

A lawsuit has been filed against you. —

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served.on the plaintiff or plaintiff's attorney,

_ whose name and address are:
Paul W. Siegert

307 Fifth Avenue, 4th Floor
New York, NY 10016

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file-your answer or motion with the court. ,

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:18-cv-05622-PKC Document6 Filed 06/28/18 Page 6 of 10

AO 440 (Rev.-06/12) Summons in a Civil Action (Page 2)

~ Civil Action No. 1:18-cv-05622 (PKC)

PROOF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ())

This summons for (name of individual and title, if any)

was received by me on (date)

[ I personally served the summons on the individual at (piace)

on (date) 3 or

C2) I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

(7 I served the summons on (name of individual) : who is

designated by law to accept service of process on behalf of (name of organization)

on (date) 3 or
Cl T returned the summons unexecuted because > or
O Other (specify):

My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date: -

Server's signature

Printed name and title

Server's address

Additional information regarding attempted service, etc:
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AO 440 (Rev. 06/12) Summons in a Civil Action

for the
Southern District of New York

UNITED STATES DISTRICT COURT

HUMAN CONSUMER LLC

Plaintiff(s)
Vv.

COB ECOMMERCE EMPIRE LLC d/b/a KEEVA
ORGANICS, CRAWFORD AND O'BRIEN LLC,
CHARLES CRAWFORD, MICHAEL O'BRIEN and
AMAZON.COM, LLC

Civil Action No. 1:18-cv-05622 (PKC)

Defendant(s)
SUMMONS IN A CIVIL ACTION —

To: (Defendant's name and address) MICHAEL O'BRIEN

1150 N, 87th Place
Scottsdale, AZ 85257

A lawsuit has been filed against you.

Within 21 days after. service of this summons on you (not counting the day you received it) — or 60 days if'you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) —- you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Paul W. Siegert

307 Fifth Avenue, 4th Floor
New York, NY 10016

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No, 1:18-cv-05622 (PKC)

PROOF OF SERVICE .
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (D)

This summons for (name of individual and title, if any)

was received by me on (date)

Date:

(1 I personally served the summons on the individual at (place)

on (date) ; or

C1 I left the summons at the individual’s residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

on (date) , and mailed a copy to the individual’s last known address; or

[I 1 served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

on (date) ; or
© fF returned the summons unexecuted because 3; or
O Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
Case 1:18-cv-05622-PKC Document6 Filed 06/28/18 Page 9 of 10

AO-440 (Rev. 06/12) Summons in a Civil Action

for the

UNITED STATES DISTRICT COURT
Souther District of New York

HUMAN CONSUMER LLC

Plaintiff(s)
Vv

COB ECOMMERCE EMPIRE LLC d/b/a KEEVA
ORGANICS, CRAWFORD AND O'BRIEN LLC,
CHARLES CRAWFORD, MICHAEL O'BRIEN and
AMAZON.COM, LLC

Civil Action No, 1:18-cv-05622 (PKC)

ee ee a ee ee ee ee ee ee ee ee

Defendant(s)

SUMMONS IN A CIVIL ACTION

To: (Defendant’s name-and address) AMAZON.COM LLC

300 Deschutes Way SW, Suite 304
Turnwater, WA 98501

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
ate the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Paul W. Siegert

307 Fifth Avenue, 4th Floor
New York, NY 10016

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

Signature of Clerk or Deputy Clerk
Case 1:18-cv-05622-PKC Document6 Filed 06/28/18 Page 10 of 10

AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

Civil Action No. 1:18-cv-05622 (PKC)

PROOKF OF SERVICE
(This section should not be filed with the court unless required by Fed. R. Civ. P. 4 ()

This summons for (name of individual and title, if any)

was received by me on (date)

CO I personally served the summons on the individual at @iace)

on (date) sor

CI I left the summons at the individual’s residence or usual place of abode with (name)

, a person of suitable age and discretion who resides there,

on (date) . and mailed a copy to the indtvidual’s last known address; or

[J 1 served the summons on (name of individual) , who is

designated by law to accept service of process on behalf of (name of organization)

On (date) ; or
C1 T returned the summons unexecuted because 5 or
CG Other (specify):
My fees are $ for travel and $ for services, for a total of $ 0.00

I declare under penalty of perjury that this information is true.

Date:

Server's signature

Printed name and title

Server’s address

Additional information regarding attempted service, etc:
